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 Attorneys for Plaintiffs BTG International Ltd.,
 Janssen Biotech, Inc., Janssen Oncology, Inc., and
 Janssen Research & Development, LLC

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

                                                      )
 BTG INTERNATIONAL LIMITED, et al.,                   )   Hon. Kevin McNulty, U.S.D.J
                                                      )
              Plaintiffs,                             )   Civil Action No.:
                                                      )   2:15-cv-05909-KM-JBC
         v.                                           )   JOINT NOTICE OF
 AMNEAL PHARMACEUTICALS LLC, et al.,                  )   UNOPPOSED MOTION TO
                                                      )   SEAL
                                                      )
              Defendants.                             )   Return date: December 17, 2018
                                                      )
 BTG INTERNATIONAL LIMITED, et al.,                   )   Document electronically filed.
                                                      )
              Plaintiffs,                             )   Hon. Kevin McNulty
                                                      )   Civil Action No.:
         v.                                           )   2:16-cv-02449-KM-JBC
 AMERIGEN PHARMACEUTICALS, INC., et al.,              )
         Defendants.                                  )
                                                      )
 BTG INTERNATIONAL LIMITED, et al.,                   )   Hon. Kevin McNulty
                                                      )
          Plaintiffs,                                 )   Civil Action No.:
          v.                                          )   2:17-cv-06435-KM-JBC
 TEVA PHARMACEUTICALS USA, INC.,                      )
                                                      )
              Defendant.                              )
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        PLEASE TAKE NOTICE that on December 17, 2018, or as soon thereafter as counsel

 may be heard, Plaintiffs, BTG International Limited, Janssen Biotech, Inc., Janssen Oncology,

 Inc., and Janssen Research & Development, LLC (collectively, “Plaintiffs”) and Defendants

 Amerigen Pharmaceuticals Limited, Amerigen Pharmaceuticals, Inc. (“Amerigen”); Amneal

 Pharmaceuticals LLC, Amneal Pharmaceuticals of New York, LLC (“Amneal”); Dr. Reddy’s

 Laboratories, Inc., Dr. Reddy’s Laboratories Ltd. (“DRL”); Mylan Pharmaceuticals Inc., Mylan

 Inc. (“Mylan”); Teva Pharmaceuticals USA, Inc. (“Teva”); West-Ward Pharmaceuticals Corp.

 and Hikma Pharmaceuticals, LLC (“West-Ward”); Wockhardt Bio AG, Wockhardt USA LLC,

 Wockhardt Ltd. (“Wockhardt”) (collectively, “Defendants”) (together, the “Parties”), shall move

 jointly pursuant to Local Civil Rule 5.3(c) before the Honorable James B. Clark III, U.S.M.J., at

 the United States District Court for the District of New Jersey, 50 Walnut Street, Newark, New

 Jersey, for the entry of an Order sealing limited portions of the following:

        1.      Plaintiffs’ brief in support of their motion pursuant to Fed. Cir. Civ. P. 62(c) for

 Injunction Pending Appeal. (Dkt. 564);

        2.      Exhibits 7-8 of the Declaration of Andrew T. Langford in Support of Plaintiffs’

 Motion for Injunction Pending Appeal. (Dkt. 564-7-8);

        3.      Declaration of Reshema Kemps-Polanco in Support of Plaintiffs’ Motion for

 Injunction Pending Appeal. (Dkt. 564-1);

        4.      Declaration of Christopher A. Vellturo, PhD in support of Plaintiffs’ Motion for

 Injunction Pending Appeal. (Dkt. 564-2-3); and

        5.      October 30, 2018 hearing transcript before Judge McNulty regarding Plaintiffs’

 Motion for Injunction Pending Appeal. (Dkt. 578).




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        PLEASE TAKE FURTHER NOTICE THAT the Parties shall rely upon the

 accompanying Statement of Keith J. Miller pursuant to Local Civil Rule 7.1(d)(4), counsel for

 Plaintiffs; the Declarations of Maria A. Stubbings and William D. Hare; Index in Support of

 Motion to Seal; Proposed Findings of Fact and Conclusions of Law; and all papers submitted

 herewith.

        PLEASE TAKE FURTHER NOTICE that a proposed form of Order is also submitted

 for the Court’s consideration.

        PLEASE TAKE FURTHER NOTICE that a certification attesting to the form of

 service also is submitted herewith.

        PLEASE TAKE FURTHER NOTICE THAT this motion is unopposed.



                                            Respectfully submitted,

 Dated: November 13, 2018                   s/ Keith J. Miller
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                                            Ltd., Janssen Biotech, Inc., Janssen
                                            Oncology, Inc. and
                                            Janssen Research & Development, LLC



  s/ Arnold B. Calmann                              s/ James S. Richter
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                                           Wockhardt Ltd.




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2018, I caused a copy of the foregoing and

 accompanying documents to be served upon all counsel of record via the Court’s electronic filing

 system.



 Dated: November 13, 2018                                          s/ Keith J. Miller




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